Case 4:18-cr-00012-MFU-RSB Document 548 Filed 02/10/20 Page 1of1 Pageid#: 3067
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IN THE UNITED STATES DISTRICT COURT~~——— OIVIS'CN. WD. of V
FOR THE WESTERN DISTRICT OF VIRGINIA

ROANOKE DIVISION

 

 

UNITED STATES OF AMERICA
V. Criminal Action No. 4:18CR00012-005

JAVONTAY JACQUIS HOLLAND

In the presence of Jacqueline Reiner and Tom Bondurant, my counsel, who has
fully explained the charges contained in the indictment against me, and having received a
copy of the indictment from the United States Attorney before being called upon to plead,
| hereby plead guilty to said indictment and count(s) one and eleven thereof. | have been
advised of the maximum punishment which may be imposed by the court for this offense.
My plea of guilty is made knowingly and voluntarily and without threat of any kind or

without promises other than those disclosed here in open court.

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ignature of Defendant

 

Dipset

Date 02-19-2020

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Witness
